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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                       Chapter 11

    BOY SCOUTS OF AMERICA AND                                    Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,
                                                                 (Jointly Administered)
                             Debtors. 1
                                                                 Re Dkt. No. 5466

                                                                 Hearing Date: To Be Determined
                                                                 Objection Deadline: To Be Determined


               MOTION OF THE COALITION OF ABUSED SCOUTS FOR
          JUSTICE, THE OFFICIAL COMMITTEE OF TORT CLAIMANTS, AND
          THE FUTURE CLAIMS REPRESENTATIVE TO STRIKE TESTIMONY
        REGARDING THE REASONABLNESS OF THE HARTFORD SETTLEMENT

             The Coalition of Abused Scouts for Justice (the “Coalition”), the Official Committee of

Tort Claimants to Boy Scouts of America and Delaware BSA, LLC (the “TCC”), and the Future

Claims Representative (the “FCR” and together with the Coalition and the TCC, the “Supporting

Parties”), by and through their undersigned counsel, hereby submit this motion to strike and/or in

limine (the “Motion to Strike”) for entry of an order striking or excluding testimony regarding

the reasonableness of the Hartford Settlement in connection with the Court’s consideration of the

Debtors’ Motion for Entry of an Order, Pursuant to Sections 363(b) and 105(a) of the Bankruptcy

Code, (I) Authorizing the Debtors to Enter into and Perform Under the Restructuring Support

Agreement, and (II) Granting Related Relief (Dkt. No. 5466) (the “RSA Motion”). 2 In support of

this Motion to Strike, the Supporting Parties respectfully state as follows:


1
    The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
    number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
    address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
2
    Capitalized terms used but not defined herein have the meanings ascribed to them in the RSA Motion or the
    Amended Plan, respectively.
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based on the Debtors’ and Hartford’s undisclosed analysis of the Abuse Claims and Hartford’s

potential coverage obligations for such Abuse Claims.

       4.      Because the Hartford Settlement grossly understates the value of the Abuse Claims

and the value of Hartford’s insurance, the Supporting Parties have voiced their opposition to the

Hartford Settlement and have asserted unequivocally that they object to any plan that includes the

Hartford Settlement. As a result of the Hartford Settlement, the Coalition joined the TCC’s

opposition to the Debtors’ third motion to extend exclusivity. See Dkt. No. 2672. And, the

Supporting Parties began discussing their own competing plan to save the BSA and provide

meaningful compensation to survivors.

       5.      Debtors and the Ad Hoc Committee of Local Councils engaged in discussions with

the Supporting Parties through mediation. The result of those arm’s-length, good faith discussions,

is the RSA that is now before the Court. The RSA provides a path for the Debtors to confirm a

consensual plan that provides for a global resolution through the implementation of a Channeling

Injunction that protects the Local Councils and any Chartered Organization that makes a

substantial contribution.

       6.      Hartford, Century, and various other insurers with coverage obligations for BSA

Abuse Claims oppose the RSA. Hartford argues that the BSA made a mistake entering into the

RSA and should, instead, press forward with a plan that includes the Harford Settlement. See Dkt.

No. 5681. In so doing, Hartford has set the stage to argue that the RSA should not be approved as

juxtaposed to the deal the Debtors reached with Hartford. The Hartford Settlement is not before

the Court in the sense that the Court is not being asked to approve it, but it is very much in the

room and a part of the conversation regarding the RSA.




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Hartford and Century are liable on different policies that cover different years and they have each

asserted different coverage defenses. Hartford is hoping that Century will not settle immediately,

will continue to litigate, and will ultimately settle for less than $1.3 billion. In such event, Hartford

will either pay less than $650 million or demand a refund from the Settlement Trust. Section II.E

purports to bind the Settlement Trust as well as the BSA.

        11.      To make matters worse, this built-in discount has nothing to do with what Hartford

otherwise could be legally obligated to pay—or even what Century may be legally liable to pay.

Essentially, Hartford is seeking to escape from paying based on Century’s financial condition.

Putting it differently, Hartford wants a discount if it turns out that Century financially lacks the

ability to pay what it owes. Hartford is seeking a discount for reasons totally unrelated to its own

financial condition and its own liability. Here is why.

        12.      A cloud hangs over Century. Century’s publicly filed financial statements appear

to indicate that Century does not have the ability to pay $1.3 billion to satisfy its liability for BSA

Abuse Claims. 5 The Debtors’ financial advisor admitted at deposition that the Debtors do not have

access to Century’s financial records. See Whitman July 14, 2021 Depo. Tr. at 193. It appears

that the BSA did not do any meaningful diligence on this issue prior to entering into the Hartford

Settlement Agreement.

        13.      It gets more complicated. Century may not be the only party that is liable under

the insurance policies in question. The Century policies at issue were originally issued by

Insurance Company of North America and Indemnity Insurance Company of North America


5
    Pages 299-301 of Chubb’s Form 10-K for the fiscal year ending December 31, 2020 reflect $227 million available
    pursuant to an Aggregate Excess of Loss Reinsurance Agreement; $25 million available in Capital Surplus (as
    required by the 1996 transaction ); and $50 million in current Dividend Retention Fund Balances. Page 52
    indicates that Chubb increased reserves by $259 million for abuse claims (which would not be limited to BSA
    abuse claims or limited to Century’s exposure). The amount of solvent reinsurance available for non-aggregated
    claims (like abuse claims) also is unclear. Century has refused to produce information allowing the Supporting
    Parties to verify its financial condition, or the transaction that created this financial chaos.


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(collectively, “INA” and the “INA Policies”). In 1995 and 1996, INA Financial Corporation and

its subsidiaries (which included INA) underwent a restructuring and purportedly “assigned” INA’s

liabilities for BSA Abuse Claims to Century, which is an inactive run-off company.

       14.     But a party cannot relieve itself of a liability by simply assigning it to another party.

The assignor remains liable unless there is a novation. See generally 58 AM. JUR. 2d Novation § 2

(2021) (“A novation also differs from an assignment since a novation requires the assent of all the

parties concerned, while an assignment requires neither the knowledge nor the assent of the

obligor, and an assignment cannot change the obligor’s performance.”). A novation requires the

consent of the party to whom the obligation is owed. Yoder v. T.F. Scholes, Inc., 173 A.2d 120,

122 (Pa. 1961) (elements of novation include “the consent of the parties”). As the California Court

of Appeal stated about this very transaction: “When another insurance company assumes the

insurer’s obligations, the original insurer is not relieved of its liability to the insured without the

consent of the insured to substitute another insurer.” AICCO, Inc. v. Ins. Co. of North Am., 90 Cal.

App. 4th 579, 589, 109 Cal. Rptr. 2d 359 (Cal. Ct. App. 2001).

       15.     No evidence exists that the Debtors consented to the assignment of INA’s liabilities

to Century. This means that INA is still liable. As the AICCO court concluded, INA’s letter to

the policyholders “did not tell policyholders that INA had transferred its obligations under the

[asbestos and environmental] policies to Century Indemnity, or that it disclaimed further

responsibility under the transferred policies.” Id. at 585-86. Indeed, the AICCO court had this to

say about the transaction:

               We conclude these actions were likely to deceive INA’s [asbestos and
               environmental] policyholders about the consequences of the reorganization
               and how it would affect their right to insurance coverage under the policies
               they had purchased. The allegations were sufficient to state a cause of
               action for fraud under the [Unfair Competition Law].

       Id. at 589 (emphasis added).


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       16.     INA is an active insurer and a subsidiary of Chubb. It is the Supporting Parties’

belief that Chubb (or one of its active insurance subsidiaries) and Century are both responsible for

the INA Policies under which the Debtors are insureds. Chubb has sufficient assets to pay the

coverage obligations arising under the INA Policies. But, because of Century’s and Chubb’s

failure to answer the discovery propounded upon them in a full and forthright fashion, the

Supporting Parties do not know if Century has untapped funds available to it. The publicly

available financial statements described an obligation for funding Century but remain silent as to

whether there are any caps on those obligations. See supra fn. 5.

       17.     To determine how much Hartford is likely to pay, the Supporting Parties need to

know how much Century can pay and which Chubb entity(ies) are liable under the INA Policies.

The Supporting Parties sought discovery on these issues. Century and Chubb have invoked every

litigation strategy they can think of to avoid disclosure.

       18.     First, Century argued that it had to have at least 30 days to respond. See Dkt.

No. 3599. Then Century suggested that it would produce responsive documents. See Dkt.

No. 5127. Century then made a production in hard copy rather than electronic form to make it

take more time to review. And, Century produced the documents only to the Coalition. At the

end of the day, Century ultimately produced nothing that the Coalition did not already have.

Century produced the very information that the Coalition had informed Century that it had already

reviewed prior to serving the discovery requests.

       19.     Because of this gamesmanship, no one can say with any degree of certainty that a

Century Settlement could be worth $1.3 billion, which means that neither Hartford nor the BSA

can credibly claim that the Hartford Settlement is worth $650 million, $400 million, $350 million,




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$300 million, or even anything (if Century somehow escapes liability, then the formula would

result in Hartford paying exactly zero).

       20.     Second, even if the Supporting Parties or the Court knew Hartford would pay $650

million under the Hartford Settlement, there are, to put it mildly, uncertainties regarding Hartford’s

actual exposure for Abuse Claims and whether $650 million is within the range of reasonableness.

The Supporting Parties have performed their own analysis and determined that Hartford’s liability

for its coverage obligations is well above $650 million. But the Supporting Parties do not have

access to the same information as the Debtors and Hartford—i.e., the two parties to the Hartford

Settlement.

       21.     The Debtors retained Bates White—a third-party consulting firm—to analyze its

liability for Abuse Claims. Based on this analysis, the Disclosure Statement states that the

Debtors’ liability is in the range of $2.4 billion and $7.1 billion. See Dkt. No. 5485. The Debtors

have not produced all of their claims data or analyses to the Supporting Parties, and this stated

range is substantially less than what the Supporting Parties believe it to be.

       22.     Upon information and belief, Hartford hired NERA Economic Consulting

(“NERA”)—the firm that supplied a Declaration in support of Hartford’s Rule 2004 Motion filed

in January 2021 (see Dkt. No. 1972)—to perform a similar analysis. NERA could analyze not

only data provided by the Debtors, but also data provided by Hartford to form an opinion regarding

Hartford’s potential exposure on its BSA policies. Hartford’s analysis and data, which are a

closely guarded secret, appears to presume that the vast majority of Abuse Claims are fraudulent.

If the survivors are telling the truth, Hartford’s exposure is likely far greater than $650 million.

       23.     Neither the Debtors nor Hartford will disclose all the data and information in their

possession, custody, or control bearing on Hartford’s exposure to liability for Abuse Claims.




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Hartford’s response is simple:      nothing, nothing, nothing.   Hartford will not produce any

documents. Nor will Hartford permit witnesses to answer any questions regarding the basis for its

opinion that $650 million is a reasonable settlement. See Kinney July 23, 2021 Depo. Tr. at 142-

153 (attached hereto as Exhibit D). The Debtors are not much better on this front.

       24.     The Supporting Parties have been seeking a full disclosure of settlement data and

related information for months.     The Supporting Parties believe that the data and analysis

performed by Hartford and the Debtors will likely show that $650 million is outside the range of

reasonableness. But this information has been kept a secret. This is a problem.

       25.     Hartford opposes the RSA Motion, extolls the virtues of the Hartford Settlement,

and expresses disappointment in the Debtors for seeking to abandon the Hartford Settlement. This

is, in a nutshell, the narrative Hartford has advanced in its objection to the RSA Motion—RSA is

bad; Hartford Settlement is good.

       26.     But Hartford and Century, through their stonewalling, have made it impossible for

the parties to know if the Hartford Settlement is worth anywhere close to $650 million and the

actual extent of what Hartford reasonably should pay. Hartford expects to hide this information

from the survivor groups and this Court and at the same time attack the RSA. Hartford seeks to

make the Hartford Settlement relevant to the RSA Motion. The two are linked since the approval

of the RSA means that the Debtor must abandon the Hartford Settlement. The Hartford Settlement

means that the Supporting Parties will oppose the Debtors’ plan and propose an alternative plan if

the Hartford Settlement is not abandoned. It is somewhat logical for Hartford to attack on the RSA

Motion by reference to its own settlement with the Debtors. The decision to prevent discovery on

the Hartford Settlement, however, has legal consequences.




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                                          ARGUMENT

       27.     As Hartford has argued to this Court (see Dkt. No. 5819, Hartford’s Motion to

Strike Mosby Testimony), if a witness offers opinion testimony (lay or expert), then the witness

must disclose the basis for those opinions. See Fed. R. Evid. 701(a) (“If a witness is not testifying

as an expert, testimony in the form of an opinion is limited to one that is: (a) rationally based on

the witness’s perception . . . and (c) not based on scientific, technical, or other specialized

knowledge within the scope of Rule 702”); see also United States v. Savage, 970 F.3d 217, 284

(3d Cir. 2020) (“Federal Rule of Evidence 701 permits the introduction of lay opinion testimony

that is rationally based on the witness’s perception and helpful to clearly understanding the

witness’s testimony or to determining a fact in issue. . .Subsection (c) clarifies the distinction

between lay opinion and expert opinion to eliminate the risk that the reliability requirements set

forth in Rule 702 will be evaded through the simple expedient of proffering an expert in lay witness

clothing.”); Donlin v. Philips Lighting N. Am. Corp., 581 F.3d 73, 83 (3d Cir. 2009) (granting re-

hearing based on Court’s failure to exclude lay witness testimony “of a specialized and technical

nature” which “was not within [the witness’s] personal knowledge.”); Hirst v. Inverness Hotel

Corp., 544 F.3d 221, 226, 50 V.I. 1122, 1129 (3d Cir. 2008) (vacating judgment for Court’s failure

to exclude improper lay witness opinion testimony; the lay witness opinion was improper because

it was not based on the witness’s first-hand knowledge but rather on information from counsel and

another witness); Chase Manhattan Bank v. Iridium Afr. Corp., No. CIV.A. 00-564 JJF, 2003 WL

22928042, at *3 (D. Del. Nov. 25, 2003) (stating “[t]he Third Circuit has interpreted ‘rationally

based on the perception of the witness’ to require ‘firsthand knowledge of the factual predicates

that form the basis for the opinion’” and barring lay opinion testimony gained from others,

including counsel) (citing Government of Virgin Islands v. Knight, 989 F.2d 619, 629 (3d




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Cir.1993); Alvarez v. Nicholson, No. 03 Civ. 4173, 2005 WL 1844595, at *7 (S.D.N.Y. Aug. 3,

2005) (excluding opinion testimony because the “witness ha[d] not identified the objective bases

for his opinion,” therefore, the court could not “assess whether it is rationally based on the

witness’s perceptions . . . .”); Baumgart v. Transoceanic Cable Ship Co., Inc., No. 01 Civ. 5990,

2003 WL 22520034, at *2 (S.D.N.Y. Nov. 7, 2003) (holding inadmissible “opinion . . . not based

on [witness’s] personal knowledge” but “on outside information, including the specialized or

technical knowledge of others . . . .”).

        28.     Here, the Supporting Parties dispute the opinions offered by witnesses that the

Hartford Settlement is reasonable. But, as detailed above, the Supporting Parties have been denied

access to the information necessary to assess the basis for the opinions offered regarding the

reasonableness of the Hartford Settlement. It follows that this Court should strike and/or decline

to hear any testimony or argument regarding the reasonableness of the Hartford Settlement in

connection with the RSA Motion. If the data and analysis that factored into the decision to enter

into the Harford Settlement remains undisclosed, the Court should not give any credit to testimony

from anyone that the Hartford Settlement is reasonable. There is no foundation for that testimony,

and it should not be considered when the Supporting Parties have been precluded from examining

the support for that testimony.

        29.     Further, as long as Hartford insists on linking its settlement to Century (and

Century’s credit rating), Hartford cannot proclaim that it is offering a reasonable amount while

Century and Chubb continue to stonewall all efforts to obtain their financial information and full

transparency regarding the alleged “assignment” of the BSA policies to Century. The Supporting

Parties are willing to litigate to obtain a fair outcome for the survivors, but we deserve a fair fight.




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And it is not fair for the insurers to attack the RSA based on the Hartford Settlement while they

are refusing to provide discovery regarding the fairness of that settlement.

                                         CONCLUSION

       WHEREFORE, the Supporting Parties respectfully request that the Court enter an order

granting the Motion to Strike and granting the Supporting Parties such other and further relief as

the Court deems just and proper.

Dated: August 6, 2021                         MONZACK MERSKY AND BROWDER, P.A.
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